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                                                Filed 04/15/19 Page 1 of 2 PageID #: 4174
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      From: Brandon Skwira
      Emaii address: skwira001@hotmail.com (from 174.20.80.75)
      Phone          6512609689
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      Please unseal US v. Felix Sater,98 cr 1101 in its entirety. I am a citizen journalist and I am very
concerned about the judicial coverup. We need to find out if Fred Oberlander and Richard Lerner are the
ones being honest or the judge.I ask that you have this docketed as soon as possible.




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      Phone #: 6512609689
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       I like to make a Freedom of Information Act Request. Please unseal court case us v. reiix Sater.
90 cr 1101. I am a citizen journalist. I am vary concerned about a judicial coverup. I want to verify who is
being honest between the judge in thise case and attornles Fred Oberlander and Richard Lerner. If you can
docket this as soon as possible. It will be appreciated.

I also sent you one other fax, but I forgot to include my mailing address, so here that is:
Brandon Skwira
5877 Mallard Ponds Drive
Saint Paul, MN 55110-5792




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